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 9                        IN THE UNITED STATES DISTRICT COURT
10                              FOR THE DISTRICT OF ARIZONA
11
      United States of America,                              CR-22-1917-TUC-JCH-BGM
12
                             Plaintiff,
13                                                     PARTIES’ JOINT REQUEST FOR FIRM
             vs.                                                  TRIAL DATE
14
15    James Mark Tuohy,
16                          Defendant.
17
            The parties hereby give notice that they are ready to proceed to trial on the above-
18
     captioned matter and will be ready on the current trial date of September 19, 2023. If the
19
     Court is unavailable on that date, we respectfully request a firm trial date for this matter.
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                   Respectfully submitted this 10th day of August 2023.
21
                                                GARY M. RESTAINO
22                                              United States Attorney
                                                District of Arizona
23
                                                s/Liza M. Granoff
24
                                                LIZA M. GRANOFF
25                                              Assistant U.S. Attorney
26
     Copy of the foregoing served electronically or by
27   other means this 10th day of August 2023, to:
28   All ECF recipients
